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 8                              UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA

10
11   IN RE ROBERT EATON DOWD
12                                                  ORDER

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16          Petitioner Robert Eaton Dowd (“Dowd”) has requested that he be allowed to

17   practice before the Eastern District of California. Dowd’s request is related to a case

18   involving one Evelyn Sanchez, who is set to appear for Judge Ishii on Monday,

19   September 15, 2013.

20          Dowd was disbarred by the California Supreme Court on March 23, 2013, and is

21   therefore ineligible to practice law in the state of California. Eastern District of California

22   Local Rule 180(a) provides that “Admission to . . . the Bar of this Court [is] limited to

23   attorneys who are active members in good standing of the State Bar of California.”

24   Accordingly, Dowd is not eligible under the Local Rules to practice before this Court.

25          However, Eastern District of California Local Rule 184 allows an attorney to

26   request an order to show cause to the Chief Judge of the Eastern District of California

27   why the attorney should be suspended or disbarred to practice before this Court. E.D.

28   Cal. Local R. 184. This Court construes Dowd’s Motion to Be Permitted to Practice Law
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 1   Before and in the United States District Court for the Eastern District of California, filed
 2   on Friday, September 13, 2013, as such a petition. Accordingly, pursuant to Local Rule
 3   184, the undersigned, as Chief Judge of the Eastern District of California, must show
 4   cause why Dowd should not be permitted to practice before this Court.
 5           Review of Dowd’s California State Bar Profile reveals that Dowd was disbarred on
 6   March 23, 2013, following a disciplinary suspension in 2011. Dowd was also suspended
 7   and placed on probation in 1998. The fact that Dowd has been disbarred from the
 8   California State Bar is more than sufficient cause for the undersigned to determine that
 9   Dowd is ineligible to practice in the Eastern District of California. The fact that Dowd’s
10   disbarment is the culmination of a series of disciplinary actions taken against him by the
11   California State Bar underscores the appropriateness of this determination.
12           As such, Dowd’s request the he be admitted to practice before the Eastern District
13   of California is DENIED. Furthermore, Dowd’s request that the Court stay proceedings
14   involving Evelyn Sanchez prior to his argument regarding the instant request is DENIED
15   AS MOOT.1
16           IT IS SO ORDERED.
17   Dated: September 16, 2013
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              Because oral argument would not be of material assistance, the Court orders this matter
28   submitted on the briefs. E.D. Cal. Local R. 230(g).s
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